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      Attorney for Defendants
  6   TAYLOR SWIFT, KARL MARTIN SANDBERG,
      KARL JOHAN SCHUSTER, SONY/ATV MUSIC
  7   PUBLISHING LLC, KOBALT MUSIC
      PUBLISHING AMERICA INC.,
  8   BIG MACHINE LABEL GROUP, LLC and
      UNIVERSAL MUSIC GROUP, INC.
  9
10                        UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12                                WESTERN DIVISION
13    SEAN HALL d.b.a. GIMME SOME         )         Case No. 2:17−cv−06882 MWF (ASx)
      HOT SAUCE MUSIC, an individual,     )
14    and NATHAN BUTLER d.b.a. FAITH      )
      FORCE MUSIC, an individual,         )         DEFENDANTS’ NOTICE OF
15                                        )         MOTION AND MOTION TO
                   Plaintiffs,            )         DISMISS FOR FAILURE TO
16                                        )         STATE A CLAIM AND MOTION
              vs.                         )         TO STRIKE
17                                        )
      TAYLOR SWIFT, an individual, KARL )
18    MARTIN SANDBERG, an individual, )               [Fed. R. Civ. P. 12(b)(6) & 12(f)]
      KARL JOHAN SCHUSTER, an             )
19    individual, SONY/ATV MUSIC          )
      PUBLISHING, LLC a limited liability )         Date: February 5, 2018
20    company, KOBALT MUSIC               )         Time: 10:00 a.m.
      PUBLISHING AMERICA INC. a           )
21    Delaware Corporation, BIG MACHINE )               Courtroom of the Honorable
      LABEL GROUP, LLC, a limited         )               Michael W. Fitzgerald
22    liability company, UNIVERSAL        )             United States District Judge
      MUSIC GROUP, INC., a California     )
23    Corporation, and DOES 1-5,          )
                                          )
24                 Defendants.            )
                                          )
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  1   TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:
  2         PLEASE TAKE NOTICE that on February 5, 2018, at 10:00 a.m. or as soon
  3   thereafter as the matter may be heard in Courtroom 5A of the above-entitled Court
  4   located at 350 West 1st Street, Los Angeles, California, defendants Taylor Swift,
  5   Karl Martin Sandberg, Karl Johan Schuster, Sony/ATV Music Publishing LLC,
  6   Kobalt Music Publishing America Inc., Big Machine Label Group, LLC and
  7   Universal Music Group, Inc., will move the above-entitled Court, the Honorable
  8   Michael W. Fitzgerald, United States District Judge presiding, for an Order
  9   dismissing plaintiffs Sean Hall and Nathan Butler’s Complaint and its sole claim for
10    alleged copyright infringement and for an Order striking the allegations of plaintiffs’
11    Complaint of an industry custom and practice of obtaining licenses for uses such as
12    those alleged by plaintiffs.
13          This Motion to dismiss is brought pursuant to Federal Rule of Civil Procedure
14    12(b)(6) and on the grounds that plaintiffs’ claim for alleged infringement of a
15    copyright in a 2001 musical composition by allegedly copying the phrase “playas,
16    they gonna play, and haters, they gonna hate,” and the version of that phrase, “The
17    playas gon’ play / Them haters gonna hate,” fails to state a claim for the copying of
18    protected expression because:
19                 (1)    copyright does not protect short phrases such as those
20          plaintiffs allege were copied;
21                 (2)    the unprotected ideas underlying the allegedly copied
22          words merge with those words, rendering them unprotectable too; and
23                 (3)    plaintiffs’ alleged decision to combine two public domain
24          elements – players playing and haters hating – is not copyrightable and,
25          in addition, plaintiffs’ and defendants’ alleged uses of these public
26          domain elements are different in multiple respects and, as a result, are
27          not virtually identical.
28    ///
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  1         This Motion to strike is brought pursuant to Federal Rule of Civil Procedure
  2   12(f) and on the grounds that the Complaint’s allegations at pages 7-8, paragraphs
  3   31-34, of an alleged industry custom and practice of obtaining licenses, are
  4   immaterial and/or impertinent, and striking the allegations will avoid unnecessary
  5   time, effort and expense of discovery and other proceedings as to the allegations.
  6         These Motions are based upon this Notice of Motion and Motion, the
  7   accompanying Memorandum of Points and Authorities, Declaration, Notice of
  8   Lodging and Request for Judicial Notice, the pleadings and papers on file in this
  9   action, the matters of which this Court may take judicial notice, and such additional
10    matters and oral argument as may be offered in support of the Motions.
11          These Motions are made following the conference of counsel pursuant to L.R.
12    7-3, which took place on December 13, 2017.
13    Dated: January 3, 2018                          /s/ Peter J. Anderson
                                                     Peter J. Anderson, Esq.
14                                           LAW OFFICES OF PETER J. ANDERSON
                                                   A Professional Corporation
15                                                  Attorney for Defendants
                                                       TAYLOR SWIFT,
16                                                KARL MARTIN SANDBERG,
                                              KARL JOHAN SCHUSTER, SONY/ATV
17                                             MUSIC PUBLISHING LLC, KOBALT
                                              MUSIC PUBLISHING AMERICA INC.,
18                                           BIG MACHINE LABEL GROUP, LLC and
                                               UNIVERSAL MUSIC GROUP, INC.
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